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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

   SHANIKA JACKSON,                                )
                                                   )
          Plaintiff,                               )         Civil Action No. 3:16-CV-268-CHB
                                                   )
   v.                                              )
                                                   )
   SERVICE FINANCIAL COMPANY,                      )             ORDER OF DISMISSAL
                                                   )
          Defendant.                               )

                                       ***   ***       ***    ***
        This matter is before the Court on the parties’ Order in which the parties have advised

 the Court that they have reached a resolution of this matter [R. 34]. The Court construes this

 Order to be a Stipulation of Dismissal by the plaintiff and signed by all parties who have

 appeared, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). Accordingly, and the Court being

 otherwise sufficiently advised,

        IT IS HEREBY ORDERED that this matter is DISMISSED WITH PREJUDICE.

 All dates and deadlines are hereby VACATED, and this matter is STRICKEN from the

 Court’s active docket, with each party to bear its own costs and fees.

        This the 24th day of July, 2018.




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